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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION                                                             ENTERED
                                                                                                               03/19/2020
_________________________________________
                                          )
In re:                                    )                           Chapter 11
                                          )
SOUTHERN FOODS GROUPS, LLC, et al.,       )                           Case No. 19-36313 (DRJ)
                                          )
            Debtors. 1                    )                           Jointly Administered
                                          )
_________________________________________ )

   ORDER (I) APPROVING BIDDING PROCEDURES FOR SALE OF DEBTORS’
ASSETS, (II) SCHEDULING HEARING TO APPROVE SALE OF DEBTORS’ ASSETS,
   (III) APPROVING FORM AND MANNER OF NOTICES OF SALE AND SALE
 HEARING, (IV) APPROVING ASSUMPTION AND ASSIGNMENT PROCEDURES,
                   AND (V) GRANTING RELATED RELIEF
                                            [RELATES TO DKT. NO. 925]
______________________________________________________________________________
      Upon the motion (the “Motion”) 2 of Southern Foods Group, LLC, Dean Foods Company,

and their debtor affiliates (collectively, the “Debtors”) in the above-captioned chapter 11 cases

(the “Chapter 11 Cases”) for entry of an order, pursuant to sections 105(a), 363, 365, 503, and

507 of the Bankruptcy Code, Bankruptcy Rules 2002, 6004, 6006, 9007, and 9014,


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           The debtors and debtors in possession in these chapter 11 cases, along with the last four digits of their
respective Employer Identification Numbers, are as follows: Southern Foods Group, LLC (1364); Dean Foods
Company (9681); Alta-Dena Certified Dairy, LLC (1347); Berkeley Farms, LLC (8965); Cascade Equity Realty,
LLC (3940); Country Fresh, LLC (6303); Dairy Information Systems Holdings, LLC (9144); Dairy Information
Systems, LLC (0009); Dean Dairy Holdings, LLC (9188); Dean East II, LLC (9192); Dean East, LLC (8751); Dean
Foods North Central, LLC (7858); Dean Foods of Wisconsin, LLC (2504); Dean Holding Company (8390); Dean
Intellectual Property Services II, Inc. (3512); Dean International Holding Company (9785); Dean Management, LLC
(7782); Dean Puerto Rico Holdings, LLC (6832); Dean Services, LLC (2168); Dean Transportation, Inc. (8896);
Dean West II, LLC (9190); Dean West, LLC (8753); DFC Aviation Services, LLC (1600); DFC Energy Partners,
LLC (3889); DFC Ventures, LLC (4213); DGI Ventures, Inc. (6766); DIPS Limited Partner II (7167); Franklin
Holdings, Inc. (8114); Fresh Dairy Delivery, LLC (2314); Friendly’s Ice Cream Holdings Corp. (7609); Friendly’s
Manufacturing and Retail, LLC (9828); Garelick Farms, LLC (3221); Mayfield Dairy Farms, LLC (3008); Midwest
Ice Cream Company, LLC (0130); Model Dairy, LLC (7981); Reiter Dairy, LLC (3675); Sampson Ventures, LLC
(7714); Shenandoah’s Pride, LLC (2858); Steve’s Ice Cream, LLC (6807); Suiza Dairy Group, LLC (2039);
Tuscan/Lehigh Dairies, Inc. (6774); Uncle Matt’s Organic, Inc. (0079); and Verifine Dairy Products of Sheboygan,
LLC (7200). The debtors’ mailing address is 2711 North Haskell Avenue, Suite 3400, Dallas, TX 75204.
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         Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the
Bidding Procedures (as defined herein) or the Motion, as applicable.
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(I)(a) approving Bidding Procedures for the sale of the Debtors’ assets, (b) scheduling a hearing

to approve the sale of the Debtors’ assets, (c) approving the Noticing Procedures, (d) approving

the Assumption and Assignment Procedures, and (e) granting related relief, and (II)(a) approving

the sale of the Debtors’ assets free and clear of liens, claims, interests, and encumbrances,

(b) authorizing the assumption and assignment of certain Contracts and Leases, and (c) granting

related relief, in each case, as more fully described in the Motion; and the Court having

jurisdiction to consider the matters raised in the Motion pursuant to 28 U.S.C. § 1334 and

the Order of Reference to Bankruptcy Judges, General Order 2012-6 (S.D. Tex. May 24, 2012)

(Hinojosa, C.J.); and the Court having found that this is a core proceeding pursuant to 28 U.S.C.

§ 157; and the Court having found that it may enter a final order consistent with Article III of the

United States Constitution; and the Court having found that venue of this proceeding and the

Motion in this District is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and due, proper, and

adequate notice of the Motion under Bankruptcy Rule 6004(a) and opportunity for a hearing on

the Motion having been given to the parties listed therein, and it appearing that no other or

further notice need be provided; and the Court having reviewed and considered the Motion and

the Magro Declaration; and the Court having held a hearing on the Motion, as it pertains to the

Bidding Procedures (the “Bidding Procedures Hearing”); and the Court having determined that

the relief granted herein is in the best interests of the Debtors, their creditors, their estates, and all

other parties in interest; and upon all of the proceedings had before the Court; and after due

deliberation and sufficient cause appearing therefor,

IT IS HEREBY FOUND AND DETERMINED THAT:

        A.      The findings and conclusions set forth herein constitute the Court’s findings of

fact and conclusions of law pursuant to Bankruptcy Rule 7052, made applicable to this


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proceeding pursuant to Bankruptcy Rule 9014. To the extent that any of the following findings

of fact constitute conclusions of law, and to the extent that any of the following conclusions of

law constitute findings of fact, they are adopted as such.

       B.      The Debtors’ proposed notice of the Motion, the Bidding Procedures, the

Assumption and Assignment Procedures, the Noticing Procedures, the Bidding Procedures

Hearing, and the proposed entry of the Bidding Procedures Order is (i) appropriate and

reasonably calculated to provide all interested parties with timely and proper notice, (ii) in

compliance with all applicable requirements of the Bankruptcy Code, the Bankruptcy Rules, and

the Local Rules, and (iii) adequate and sufficient under the circumstances of the Chapter 11

Cases, and no other or further notice is required. A reasonable opportunity to object or be heard

regarding the relief requested in the Motion, as it pertains to the Bidding Procedures, has been

afforded to all interested persons and entities, including, but not limited to, the Notice Parties.

       C.      The Bidding Procedures in the form attached hereto are fair, reasonable, and

appropriate, are designed to maximize recoveries from a sale of the Bid Assets, and permit the

Debtors to comply with their obligations under the DIP Credit Agreement and DIP Order (as

each is defined in the Motion).

       D.      The Debtors have demonstrated a compelling and sound business justification for

the Court to enter this Order and, thereby, (i) approve the Bidding Procedures, (ii) set the dates of

the Bid Deadline, Sale Hearing, and other deadlines set forth in the Bidding Procedures attached

hereto, (iii) approve the Noticing Procedures and the forms of notice, and (iv) approve the

Assumption and Assignment Procedures and the forms of relevant notice; provided that this

finding shall not prohibit parties in interest from seeking further extensions of the Bid Deadline,

Sale Hearing, and other deadlines set forth in the Bidding Procedures for cause shown pursuant


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to Paragraph 3 of this Order. Such compelling and sound business justification, which was set

forth on the record at the Bidding Procedures Hearing, is incorporated herein by reference and,

among other things, forms the basis for the findings of fact and conclusions of law set forth

herein.

          E.    Entry of this Order is in the best interests of the Debtors and their estates,

creditors, interest holders, and all other parties in interest herein.

          F.    The form and manner of notice to be delivered pursuant to the Noticing

Procedures and the Assumption and Assignment Procedures (including the Sale Notice attached

hereto, the Potential Assumption and Assignment Notice attached hereto, and the Proposed

Assumption and Assignment Notice attached hereto) are reasonably calculated to provide each

Counterparty to the Potential Assumed Contracts and the Proposed Assumed Contracts with

proper notice of (i) the potential assumption and assignment of such Potential Assumed

Contracts and Proposed Assumed Contracts by the Successful Bidder(s) or any of their known

proposed assignees (if different from the Successful Bidder) and (ii) the requirement that each

such Counterparty assert any objection to the proposed Cure Costs by the Cure Objection

Deadline or otherwise be barred from asserting claims arising from events occurring prior to the

effective date of the assumption and assignment of such Proposed Assumed Contracts or any

later applicable effective date following assumption and assignment of such Proposed Assumed

Contracts.

ORDERED, ADJUDGED, AND DECREED THAT:

          1.    The Bidding Procedures, in the form attached hereto, are approved and fully

incorporated into this Order and the Debtors are authorized, but not directed, to act in accordance

therewith. The failure to specifically include a reference to any particular provision of the


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Bidding Procedures in this Order shall not diminish or impair the effectiveness of such provision.

In the event of any conflict between the Bidding Procedures and this Order, this Order shall

control.

       2.      Nothing herein shall prejudice the rights of the Debtors to seek by separate

motion, in the exercise of their sound business judgment and fiduciary duties, in consultation

with the Consultation Parties, the authority to sell assets of the Debtors’ estates pursuant to

section 363 of the Bankruptcy Code.

       3.      Bid Deadline. As further described in the Bidding Procedures, the Bid Deadline

shall be at 12:00 p.m. (prevailing Central Time) on March 30, 2020; provided, however, that

the Court may extend the Bid Deadline upon request by a party in interest and for cause shown,

and all parties’ rights are reserved in connection with any such request.

       4.      The form of Sale Notice attached hereto is hereby approved.

       5.      As soon as reasonably practicable after entry of this Order, the Debtors shall serve

the Sale Notice by first class or overnight mail upon the following: (a) the U.S. Trustee;

(b) Akin Gump Strauss Hauer & Feld LLP, as counsel to the Committee; (c) White & Case LLP,

as counsel to the Agents; (d) indenture trustee under the Debtors’ prepetition unsecured bond

indenture; (e) Counterparties to Contracts and Leases; (f) the Securities and Exchange

Commission; (g) the Internal Revenue Service; (h) the U.S. Environmental Protection Agency;

(i) the United States Attorney’s Office for the Southern District of Texas; (j) the United States

Attorney General/Antitrust Division of the Department of Justice; (k) the state attorneys general

for states in which the Debtors conduct business; (l) all other parties asserting a security interest

in the assets of the Debtors to the extent reasonably known to the Debtors; (m) all potential

buyers previously identified or solicited by the Debtors or their advisors and any additional


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parties who have previously expressed an interest to the Debtors or their advisors in potentially

acquiring the Debtors’ assets; (n) all other known parties with any interest in the Bid Assets;

(o) all known creditors of the Debtors; and (p) any party that has requested notice pursuant to

Bankruptcy Rule 2002 (collectively, the “Sale Notice Parties”). The Debtors will publish the

Sale Notice once in USA Today national edition within three business days following entry of the

Bidding Procedures Order.

        6.     Service of the Sale Notice on the Sale Notice Parties in the manner described in

this Order constitutes good and sufficient notice of the Sale Hearing. No other or further notice

is required.

        7.     Absent further order or direction of the Court, by no later than March 30, 2020 at

11:59 p.m. (prevailing Central Time), the Debtors shall file copies of the following: (a) all

bids received by the Bid Deadline; (b) a notice designating (after consultation with the

Consultation Parties) the Successful Bidder(s) and Alternate Bidders(s) for the Bid Assets (the

“Notice of Bid Results”); provided that the Debtors may determine not to designate Successful

Bidders and Alternate Bidders with respect to a minority of the Bid Assets if they believe, in

consultation with the Consultation Parties, that extending the sale process with respect to such

Bid Assets would be reasonably likely to maximize value for the benefit of the Debtors’ estates;

and (c) final form(s) of order(s) approving the Sale Transaction(s) as agreed upon between the

Debtors (in consultation with the Consultation Parties) and the Successful Bidder(s).

        8.     Sale Objections. Objections to the relief sought in the Sale Order(s) or the Sale

Transaction(s) must (a) be in writing, (b) comply with the Bankruptcy Code, Bankruptcy Rules,

and Local Rules, (c) state, with specificity, the legal and factual bases thereof, (d) be filed with

the Court no later than 12:00 p.m. (prevailing Central Time) on April 1, 2020, and (e) be


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served on (i) counsel to the Debtors, (y) Davis Polk & Wardwell LLP, 450 Lexington Avenue,

New York, New York 10017, Attn: Brian M. Resnick, Steven Z. Szanzer, and Nate Sokol and

(z) Norton Rose Fulbright US LLP, 1301 McKinney Street, Suite 5100, Houston, Texas 77010,

Attn: William Greendyke, Jason L. Boland, Robert B. Bruner, and Julie Harrison, (ii) (y) counsel

to the Agents, White & Case LLP, 1221 Avenue of the Americas, New York, NY 10020, Attn:

Scott Greissman, Philip Abelson, and Elizabeth Feld and (z) Gray Reed, 1300 Post Oak Blvd,

Suite 2000, Houston, TX 77056, Attn: Jason S. Brookner, (iii) counsel to the Committee, Akin

Gump Strauss Hauer & Feld LLP, One Bryant Park, New York, NY 10036, Attn: Philip Dublin

and Meredith Lahaie, and (iv) the U.S. Trustee (collectively, the “Objection Notice Parties”).

If a timely objection is filed and served in accordance with this paragraph, the terms of any Sale

Transaction shall not be approved until the objection is resolved either consensually or by order

of the Court.

          9.    Sale Hearing. The Sale Hearing shall be held in the United States Bankruptcy

Court for the Southern District of Texas, Houston, Texas 77002, on April 3, 2020 at 9:00 a.m.

(prevailing Central Time) or such other date and time that the Court may later direct; provided,

however, that the Sale Hearing may be adjourned by the Debtors (in consultation with the

Consultation Parties) by announcement of the adjournment in open court or on the Court’s

docket.

          10.   Assumption and Assignment Procedures.          The assumption and assignment

procedures set forth in the Motion (the “Assumption and Assignment Procedures”) are hereby

approved.

          11.   As soon as reasonably practicable following entry of this Order, the Debtors shall

file with the Court, and cause to be published on the Case Information Website, the Potential


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Assumption and Assignment Notice and a list of the Potential Assumed Contracts (the

“Potential Assumed Contracts Schedule”) that specifies (a) each of the Contracts and Leases

that potentially could be assumed and assigned in connection with the sale of the Bid Assets,

including the name of each Counterparty and (b) the proposed Cure Cost with respect to each

Potential Assumed Contract.

       12.    Potential Assumption and Assignment Notice. The Debtors shall, as soon as

reasonably practicable after entry of this Order (but in any event, so as to provide sufficient

notice such that any required responses from any Counterparties are due prior to the Assumption

and Assignment Objection Deadline (as defined herein)), file and serve on each relevant

Counterparty the Potential Assumption and Assignment Notice, which shall (a) identify the

Potential Assumed Contracts, (b) list the Debtors’ good faith calculation of the Cure Costs as of

the date hereof with respect to the Potential Assumed Contracts identified on the Potential

Assumption and Assignment Notice, (c) expressly state that assumption or assignment of an

Assumed Contract or Assumed Lease is not guaranteed and is subject to Court approval,

(d) prominently display the Assumption and Assignment Objection Deadline, and (e)

prominently display the date, time, and location of the Sale Hearing. The Debtors shall serve on

all parties requesting notice pursuant to Bankruptcy Rule 2002, via first class mail, a modified

version of the Potential Assumption and Assignment Notice, without the Potential Assumed

Contracts Schedule, which will include instructions regarding how to view the Potential

Assumed Contracts Schedule on the Case Information Website.

       13.    Proposed Assumption and Assignment Notice. The Debtors shall, in conjunction

with the filing of the Notice of Bid Results, file and serve on each relevant Counterparty the

Proposed Assumption and Assignment Notice, which shall (a) identify the Proposed Assumed


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Contracts, (b) expressly state that assumption or assignment of an Assumed Contract or Assumed

Lease is not guaranteed and is subject to Court approval, (c) prominently display the Assumption

and Assignment Objection Deadline, and (d) prominently display the date, time, and location of

the Sale Hearing.     The Debtors shall serve on all parties requesting notice pursuant to

Bankruptcy Rule 2002, via first class mail, a modified version of the Proposed Assumption and

Assignment Notice, without the schedule of Proposed Assumed Contracts (the “Proposed

Assumed Contracts Schedule”), which will include instructions regarding how to view the

Proposed Assumed Contracts Schedule on the Case Information Website.

       14.     Objection Deadlines. Any Counterparty may object to the potential or proposed

assumption or assignment of its Assumed Contract or Assumed Lease, the Debtors’ proposed

Cure Costs, if any, or the ability of the Successful Bidder(s) to provide adequate assurance of

future performance (an “Assumption and Assignment Objection”).               All Assumption and

Assignment Objections must (a) be in writing, (b) comply with the Bankruptcy Code,

Bankruptcy Rules, and Local Rules, (c) state, with specificity, the legal and factual bases thereof,

including, if applicable, the Cure Costs the Counterparty believes is required to cure defaults

under the relevant Assumed Contract or Assumed Lease, and (d) be filed with the Court and

served on the Objection Notice Parties by no later than April 1, 2020 at 12:00 p.m. (prevailing

Central Time) (the “Assumption and Assignment Objection Deadline”).

       15.     Resolution of Assumption and Assignment Objections. If a Counterparty files a

timely Assumption and Assignment Objection, such objection shall be heard at the Sale Hearing

or such later date that the Debtors determine in consultation with the Successful Bidder(s), the

Consultation Parties, the Counterparty, and subject to the Court’s calendar. If such objection has

not been resolved prior to the closing of the Sale Transaction (whether by an order of the Court


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or by agreement with the Counterparty), each Successful Bidder may elect, in its sole and

absolute discretion, one of the following options: (a) treat such Counterparty’s contract or lease

as property excluded from the Bid Assets (an “Excluded Contract” or “Excluded Lease”,

respectively); or (b) temporarily treat the Proposed Assumed Contract as an Excluded Contract

or Excluded Lease, as applicable (a “Designated Agreement”), proceed to the closing of the

Sale Transaction with respect to all other Bid Assets, and determine whether to treat the

Designated Agreement as an Assumed Contract or Assumed Lease, as applicable, or an

Excluded Contract or Excluded Lease, as applicable, within ten business days after resolution of

such objection (whether by order of the Court or by agreement of the Successful Bidder(s), the

Counterparty, and the Debtors).

       16.     Failure To File Timely Assumption and Assignment Objection. If a Counterparty

fails to file with the Court and serve on the Objection Notice Parties a timely Assumption and

Assignment Objection, the Counterparty shall be forever barred from asserting any such

objection with regard to the assumption or assignment of its Assumed Contract or Assumed

Lease. Notwithstanding anything to the contrary in the Assumed Contract or Assumed Lease, or

any other document, the Cure Costs set forth in the Potential Assumption and Assignment Notice

or the Supplemental Assumption and Assignment Notice (as defined below) shall be controlling

and will be the only amount necessary to cure outstanding defaults under the applicable Assumed

Contract or Assumed Lease under section 365(b) of the Bankruptcy Code arising out of or

related to any events occurring prior to the closing of the Sale Transaction or other applicable

date upon which such assumption and assignment will become effective, whether known or

unknown, due or to become due, accrued, absolute, contingent, or otherwise, and the

Counterparty shall be forever barred from asserting any additional cure or other amounts with


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respect to such Assumed Contract or Assumed Lease against the Debtors, the Successful

Bidder(s), or the property of any of them.

       17.     Modification of Potential Assumed Contracts Schedule or Proposed Assumed

Contracts Schedule. In addition to a Successful Bidder’s rights described above with respect to

an Assumption and Assignment Objection, at or prior to the closing of the Sale Transaction, the

Successful Bidder(s) may elect, in its or their respective sole and absolute discretion, to

(a) exclude any contract or lease on the Potential Assumed Contracts Schedule as an Assumed

Contract or Assumed Lease, as applicable (in which case it shall become an Excluded Contract

or Excluded Lease, as applicable), provided that such exclusions will not reduce the purchase

price to be paid by the Successful Bidder, or (b) include on the Proposed Assumed Contracts

Schedule any contract or lease listed on the Potential Assumed Contracts Schedule, so long as

the Successful Bidder is paying the Cure Costs therefor, by providing to the Debtors written

notice of its election to exclude or include such contract or lease, as applicable.

       18.     If the Debtors or any Successful Bidder identifies during the pendency of the

Chapter 11 Cases (before the closing of the Sale Transaction) any contract or lease that is not

listed on the Proposed Assumed Contracts Schedule, and such contract or lease has not been

rejected by the Debtors, each Successful Bidder may in its sole and absolute discretion elect by

written notice to the Debtors to treat such contract or lease as an Assumed Contract or Assumed

Lease, as applicable, so long as the Successful Bidder is paying the Cure Costs therefor, and the

Debtors shall seek to assume and assign such Assumed Contract or Assumed Lease in

accordance with the Assumption and Assignment Procedures.

       19.     Following the selection of the Successful Bidder(s), the Debtors reserve the right,

at any time before the closing of the Sale Transaction(s), to modify the previously-stated Cure


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Costs associated with any Proposed Assumed Contract, subject to notice requirements in the

Assumption and Assignment Procedures.

       20.    In the event that any contract or lease is added to the Potential Assumed Contracts

Schedule or Proposed Assumed Contracts Schedule, or previously-stated Cure Costs are

modified, in accordance with the Assumption and Assignment Procedures, the Debtors will

promptly serve a supplemental assumption and assignment notice, by first class mail, on the

applicable Counterparty (each, a “Supplemental Assumption and Assignment Notice”), and

otherwise timely notify the Consultation Parties.        Each Supplemental Assumption and

Assignment Notice will include the same information with respect to the applicable Assumed

Contract or Assumed Lease as is required to be included in the Potential Assumption and

Assignment Notice.

       21.    Any Counterparty listed on a Supplemental Assumption and Assignment Notice

whose contract or lease is proposed to be assumed and assigned may object to the proposed

assumption or assignment of its Assumed Contract or Assumed Lease, the Debtors’ proposed

Cure Costs (to the extent modified from the previously-stated amount), or the ability of the

Successful Bidder(s) to provide adequate assurance of future performance (a “Supplemental

Assumption and Assignment Objection”). All Supplemental Assumption and Assignment

Objections must (a) be in writing, (b) comply with the Bankruptcy Code, Bankruptcy Rules, and

Local Rules, (c) state, with specificity, the legal and factual bases thereof, including, if

applicable, the Cure Costs the Counterparty believes is required to cure defaults under the

relevant Assumed Contract or Assumed Lease, and (d) no later than 14 days from the date of

service of such Supplemental Assumption and Assignment Notice, (i) be filed with the Court and

(ii) be served on the Objection Notice Parties. Each Supplemental Assumption and Assignment


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Objection, if any, shall be resolved in the same manner as an Assumption and Assignment

Objection.

       22.     Reservation of Rights. The inclusion of an Assumed Contract, Assumed Lease,

or Cure Costs with respect thereto on a Potential Assumption and Assignment Notice, a

Proposed Assumption and Assignment Notice, the Potential Assumed Contracts Schedule, the

Proposed Assumed Contracts Schedule, or a Supplemental Assumption and Assignment Notice

shall not constitute or be deemed a determination or admission by the Debtors, the Successful

Bidder(s), or any other party in interest that such contract or lease is an executory contract or

unexpired lease within the meaning of the Bankruptcy Code. The Debtors reserve all of their

rights, claims, and causes of action with respect to each Assumed Contract and Assumed Lease

listed on a Potential Assumption and Assignment Notice, Proposed Assumption and Assignment

Notice, Supplemental Assumption and Assignment Notice, the Potential Assumed Contracts

Schedule, and the Proposed Assumed Contracts Schedule. The Debtors’ inclusion of any

Assumed Contract or Assumed Lease on the Potential Assumption and Assignment Notice,

Proposed Assumption and Assignment Notice, Supplemental Assumption and Assignment

Notice, Potential Assumed Contracts Schedule, and/or Proposed Assumed Contracts Schedule

shall not be a guarantee that such Assumed Contract or Assumed Lease ultimately will be

assumed or assumed and assigned.

       23.     The Debtors are authorized to take all such actions as are necessary or appropriate

to implement the terms of this Order.

       24.     This Order shall be binding on the Debtors, including any chapter 7 or chapter 11

trustee or other fiduciary appointed for the estates of the Debtors.




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       25.     Any Bankruptcy Rule (including, but not limited to, Bankruptcy Rule 6004(a),

6004(h), 6006(d), or 9014) or Local Rule that might otherwise delay the effectiveness of this

Order is hereby waived, and the terms and conditions of this Order shall be effective and

enforceable immediately upon its entry.

       26.     All time periods set forth in this Order shall be calculated in accordance with

Bankruptcy Rule 9006(a).

       27.     To the extent any provisions of this Order shall be inconsistent with the Motion,

the terms of this Order shall control.

       28.     Notwithstanding anything to the contrary herein, nothing in this Order is intended

to or shall restrict, modify, or impair the rights of (a) the DIP Secured Parties and/or the

Prepetition Secured Parties under the DIP Order, the DIP Documents (as defined in the DIP

Order), or the Prepetition Loan Documents (as defined in the DIP Order), or (b) the Secured

Parties under (and as defined in) the Securitization Order and the Securitization Documents.

       29.     The Court shall retain exclusive jurisdiction to hear and determine all matters

arising from or relating to the implementation, interpretation, or enforcement of this Order.




Dated:Signed: March 19, 2020. 2020
         ___________________,
         Houston, Texas
                                                     ____________________________________
                                                     DAVID R. JONES
                                                     UNITED STATES BANKRUPTCY JUDGE
                                                      UNITED STATES BANKRUPTCY JUDGE




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                         Bidding Procedures
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                                       BIDDING PROCEDURES 1

        The bidding procedures set forth below (these “Bidding Procedures”) detail the process
by which Dean Foods Company (“Dean Foods”) and its affiliated debtors (collectively with
Dean Foods, the “Debtors”) are authorized by the United States Bankruptcy Court for the
Southern District of Texas (the “Bankruptcy Court”) to conduct a sale of all, substantially all,
or any combination of the Debtors’ assets in one or more lots (collectively, the “Bid Assets”). 2 A
party may participate in the bidding process by submitting a bid for (a) all or substantially all of
the Bid Assets and/or (b) one or more, or any combination of, Bid Assets as that party may desire.
These Bidding Procedures also provide that the Debtors, in consultation with the Consultation
Parties (as defined herein), may also consider competing bids in the form of a chapter 11 plan of
reorganization, subject to the requirements set forth herein (a “Chapter 11 Plan Bid”).

       The Debtors, in consultation with the Consultation Parties, shall determine the highest or
otherwise best offer(s) for the sale(s) of one or more categories of the Bid Assets, or any other
combination thereof, based upon the Qualified Bids filed by the Bid Deadline.

                   Any interested bidder should contact, as soon as practicable:

                                      EVERCORE GROUP L.L.C. 3
                                            55 East 52nd Street
                                          New York, NY 10055
                                             Attn.: John Kimm
                                        john.kimm@evercore.com
                                         (tel.) +1 (212) 849-3436

         These Bidding Procedures describe, among other things, (i) the Bid Assets offered for
sale, (ii) the manner in which bidders may submit Qualified Bids (as defined below), (iii) the
selection of the Successful Bidder(s) (as defined below), and (iv) the approval by the Bankruptcy
Court of the sale of the Bid Assets to the Successful Bidder(s).

       Throughout the sale process, the Debtors and their advisors will regularly and timely
consult with the following parties (collectively, the “Consultation Parties”): Coöperatieve
Rabobank U.A., as agent, and its advisors (including White & Case LLP and FTI Consulting),
and the Committee and its advisors, including Akin Gump Strauss Hauer & Feld LLP.


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          To the extent the Bidding Procedures require the Debtors to consult with the Consultation Parties in
connection with making a determination or taking any action, the Debtors shall do so in a regular and timely manner
prior to making such determination or taking such action. For the avoidance of doubt, unless approved by the
Bankruptcy Court, no amendment or other modification to these Bidding Procedures shall be made by the Debtors
without the consent of the Consultation Parties.

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           These bidding procedures were approved by the Bankruptcy Court on [·], 2020 [D.I. [·]] (the “Bidding
Procedures Order”). Capitalized terms used but not defined herein shall have the meanings ascribed to such terms
in the Bidding Procedures Order or the DIP Order (as defined below), as applicable.
       3
         Evercore Group, L.L.C., in its capacity as financial advisor the Debtors, is referred to herein as
“Evercore.”
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1.      PARTICIPATION REQUIREMENTS

        Unless otherwise ordered by the Bankruptcy Court for cause shown, to participate in the
bidding process described herein (the “Bidding Process”), each interested person or entity (each,
an “Interested Party”) seeking access to the Debtors’ confidential electronic data room
concerning the Bid Assets (the “Data Room”) must deliver an executed confidentiality
agreement in form and substance satisfactory to the Debtors (in consultation with the
Consultation Parties) to Evercore. Upon the receipt of the executed confidentiality agreement,
the Debtors will deliver to such Interested Party access to the Data Room, which shall include an
electronic copies of forms of asset purchase agreement (for all assets and for select assets) and a
form of Sale Order (as defined below).

        Until the Bid Deadline, in addition to granting access to the Data Room, the Debtors will
provide Interested Parties with due diligence access and additional information, as may be
requested by an Interested Party, to the extent that the Debtors determine, in consultation with
the Consultation Parties, that such requests are reasonable and appropriate under the
circumstances. All due diligence requests shall be directed to Evercore. The Debtors, with the
assistance of Evercore, will coordinate all reasonable requests for additional information and due
diligence access from Interested Parties.

         Unless otherwise determined by the Debtors, the availability of due diligence to an
Interested Party will cease if (i) the Interested Party does not become a Qualified Bidder or
(ii) the Bidding Process is terminated in accordance with its terms.

2.      QUALIFIED BIDS

         Each offer, solicitation, or proposal by an Interested Party must satisfy each of the
following conditions in order for such offer, solicitation, or proposal to be deemed a “Qualified
Bid” and for such Interested Party to be deemed a “Qualified Bidder,” unless any such
conditions that are not satisfied are waived by the Debtors in consultation with the Consultation
Parties:

       (a)     Bid Deadline

        An Interested Party who desires to be deemed a Qualified Bidder must deliver to
Evercore, with copies to Davis Polk & Wardwell LLP, 450 Lexington Avenue, New York, New
York 10017 (Attn: Brian M. Resnick, Steven Z. Szanzer, and Nate Sokol), the Required Bid
Documents (as defined below) so as to be received no later than 12:00 p.m. (prevailing Central
Time) on March 30, 2020 (the “Bid Deadline”); provided, however, that the Court may extend
the Bid Deadline upon request by a party-in-interest and for cause shown, and all parties’ rights
are reserved in connection with any such request.

       (b)      Sale Bid Requirements

       All bids for sale transactions must include the following items (collectively,
the “Required Bid Documents”):

                •       a letter stating that the bidder’s offer is irrevocable until


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                 consummation of a transaction involving the Bid Assets
                 (or lot thereof) identified in such offer;

          •      a duly authorized and executed purchase agreement
                 satisfactory to the Debtors, based on one of the forms of
                 asset purchase agreement in the Data Room (unless the
                 Debtors otherwise agree, in consultation with the
                 Consultation Parties, to the use of a different asset
                 purchase agreement), marked to show any revisions,
                 including, among other things, the purchase price for the
                 Bid Assets (or lot thereof, as applicable), together with all
                 exhibits and schedules, in each case marked to show those
                 amendments and modifications to the applicable form of
                 asset purchase agreement;

          •      a proposed Sale Order with a redline marked to show
                 those amendments and modifications to the form in the
                 Data Room;

          •      a summary (not to exceed five pages) of the material
                 terms and conditions of the bid;

          •      written evidence acceptable to the Debtors, in consultation
                 with the Consultation Parties, demonstrating financial
                 wherewithal, operational ability, and corporate
                 authorization to consummate the proposed transaction,
                 such as, (i) the bidder’s tax returns and audited financial
                 statements (or un-audited, if audited financials are not
                 available) and any supplemental schedules for the
                 calendar or fiscal years ending 2017 and 2018, (ii) the
                 number (if any) of dairy or other facilities that the bidder
                 operates and all trade names that the bidder uses (if any),
                 (iii) the bidder’s intended use of the premises, (iv) the
                 bidder’s experience (if any) operating dairy or other
                 facilities; and

          •      written evidence of a firm commitment for financing to
                 consummate the proposed transaction, or other evidence
                 of ability to consummate the proposed transaction without
                 financing, in either case which is satisfactory to the
                 Debtors, in consultation with the Consultation Parties.

 A bid for a sale transaction will be considered only if the bid:

          •      identifies the legal name of the purchaser (including any
                 Sponsor(s), if the purchaser is an entity formed for the
                 purpose of consummating the proposed transaction);


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        •    identifies the Bid Assets (or lot thereof) to be purchased
             and the contracts and leases to be assumed;

        •    identifies the liabilities of the Debtors or the Bid Assets
             (or lot thereof) to be assumed. In particular, each bid
             must state whether or not the bidder intends to assume (i)
             sponsorship of all or any part of, or (ii) any of the
             potential liabilities associated with, the Dean Foods
             Consolidated Pension Plan (the “Single-Employer
             Pension Plan”);

        •    expressly proposes terms for all employees, including, but
             not limited to, the treatment of the Debtors’ prepetition
             collective bargaining agreements and the Debtors’
             participation in the Single-Employer Pension Plan and
             their participation in multi-employer pension and health
             plans (collectively, the “Employee Obligations”),
             including whether or not the bidder intends to assume
             sponsorship of all or any portion of the Single-Employer
             Pension Plan;

        •    sets forth the consideration for the Bid Assets (or lot
             thereof) to be purchased and the Contracts and Leases to
             be assumed (the “Bid Consideration”);

        •    is not conditioned on (i) obtaining financing or (ii) the
             outcome of unperformed due diligence;

        •    includes a description of all governmental, licensing,
             bonding obligations (including financial assurance and
             surety bonds), regulatory, or other approvals or consents
             that are required to consummate the proposed transaction
             (including any antitrust approval related to the Hart-Scott-
             Rodino Antitrust Improvements Act of 1976, as amended),
             together with evidence satisfactory to the Debtors, in
             consultation with the Consultation Parties, of the bidder’s
             (i) ability to obtain such approvals or consents and (ii)
             financial resources necessary to obtain or replace any
             surety bonds associated with any licenses (the “Bonding
             Assurance Information”), in each case as soon as
             reasonably practicable (and in no event later than June 1,
             2020), as well as a description of any material
             contingencies or other conditions that will be imposed
             upon, or that will otherwise apply to, the obtainment or
             effectiveness of any such approvals or consents;

        •    expressly states that the bidder agrees to serve as an


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                        Alternate Bidder (as defined below) if such bidder’s
                        Qualified Bid is selected as the next highest or next best
                        bid after the Successful Bid (as hereinafter defined) with
                        respect to the applicable Bid Assets;

                •       is accompanied by a cash deposit by wire transfer to an
                        escrow agent selected by the Debtors (the “Deposit
                        Agent”) in an amount equal to seven percent of the cash
                        consideration set forth in connection with such bid (any
                        such deposit, a “Good Faith Deposit”);

                •       sets forth the representatives that are authorized to appear
                        and act on behalf of the bidder in connection with the
                        proposed transaction;

                •       indicates that the bidder will not seek any transaction or
                        break-up fee, expense reimbursement, or similar type of
                        payment;

                •       includes evidence of the bidder’s ability to comply with
                        section 365 of the Bankruptcy Code (to the extent
                        applicable), including providing adequate assurance of
                        such bidder’s ability to perform in the future the contracts
                        and leases proposed in its bid to be assumed by the
                        Debtors and assigned to the bidder, in a form that will
                        permit the Debtors to disseminate immediately such
                        evidence to the non-Debtor counterparties to such
                        contracts and leases (the “Adequate Assurance
                        Information”);

                •       indicates whether or not the bidder will assume all cure
                        costs associated with any Contracts and Leases it intends
                        to assume; and

                •       is received on or before the Bid Deadline (as such
                        deadline may be extended in accordance with these
                        Bidding Procedures).

          A bid received from an Interested Party will constitute a Qualified Bid only if it includes
all of the applicable Required Bid Documents and meets all of the applicable requirements above
(other than a Chapter 11 Plan Bid and a credit bid described in Section 3 below); provided,
however, the Debtors, in consultation with the Consultation Parties, shall have the right to deem
a bid a Qualified Bid even if such bid does not conform to one or more of the requirements
above or does not include one or more of the applicable Required Bid Documents. As soon as
such bids are received, the Debtors shall provide copies of all bids to the Consultation Parties. If
the Debtors receive a bid prior to the Bid Deadline that is not a Qualified Bid, the Debtors, in
consultation with the Consultation Parties, may provide the bidder with the opportunity to


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remedy any deficiencies through and after the Bid Deadline. If any bid is determined by the
Debtors, in consultation with the Consultation Parties, not to be a Qualified Bid, and the
applicable bidder fails to remedy such bid in accordance with these Bidding Procedures, the
Debtors, to the extent applicable, shall promptly instruct the Deposit Agent to return such
bidder’s Good Faith Deposit.

        Notwithstanding any other provision of these Bidding Procedures, the Debtors, in
consultation with the Consultation Parties, may evaluate bids on any grounds, including, but not
limited to, and to the extent applicable, (i) the amount of the purchase price, including non-cash
consideration, set forth in the bid, (ii) the value to be provided to the Debtors under the bid,
including the net economic effect upon the Debtors’ estates, (iii) any benefit to the Debtors’
estates from any assumption of liabilities or waiver of liabilities, including the release or
replacement of letters of credit, (iv) the transaction structure and execution risk, including
conditions to and certainty of closing, termination provisions, availability of financing and
financial wherewithal to meet all commitments, and required governmental or other approvals,
(v) the anticipated timing to closing and whether such timing is consistent with the Debtors’
adherence to the Approved Budget (as defined in the DIP Credit Agreement), (vi) the impact on
employees, including the actual or potential elimination of employee benefits and/or the
reduction in value of such benefits, and also employee claims against the Debtors, (vii) the
presence of any governmental, licensing, regulatory, or other approvals or consents in a bid, and
the anticipated timing or likelihood of obtaining such approvals or consents, (viii) the impact on
trade and other creditors, (ix) the impact on Employee Obligations, including the assumption of
sponsorship of or liabilities associated with the Single-Employer Pension Plan or the assumption
of any obligations and/or liabilities associated with any multi-employer pension and/or health
plan, (including participation therein), and (x) any other factors the Debtors, in consultation with
the Consultation Parties, may reasonably deem relevant consistent with their fiduciary duties (as
reasonably determined in good faith by the Debtors in consultation with their outside legal
counsel). Notwithstanding anything to the contrary in the foregoing, the Debtors shall consult
with the Consultation Parties on any grounds for evaluating bids. For the avoidance of doubt, the
presence of any governmental, licensing, regulatory, or other approvals or consents in a bid, and
the anticipated timing or likelihood of obtaining such approvals or consents, may be grounds for
the Debtors, in consultation with the Consultation Parties, to determine that such bid (i) is not a
Qualified Bid or (ii) is not higher or otherwise better than any other Qualified Bid.

         By submission of its bid, each Qualified Bidder shall be deemed to acknowledge and
represent that it (i) has relied solely upon its own independent review, investigation, and/or
inspection of any documents and/or the assets in making its bid, (ii) did not rely upon any written
or oral statements, representations, promises, warranties, or guaranties whatsoever, whether
express, implied, by operation of law, or otherwise, regarding the Bid Assets (or lots thereof), or
the completeness of any information provided in connection therewith, except as expressly stated
in these Bidding Procedures or the asset purchase agreement(s) with any Successful Bidder(s),
(iii) has not engaged in any collusion with respect to the bidding or the sale of any of the Bid
Assets, (iv) has reviewed, understands, and accepts these Bidding Procedures, (v) has consented
to the jurisdiction of the Bankruptcy Court, and (vi) intends to consummate its Qualified Bid if it
is selected as the Successful Bid. A Qualified Bidder may not amend, modify, or withdraw its
Qualified Bid during the period that such Qualified Bid is required to remain irrevocable.



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       Absent further order or direction of the Court, by no later than March 30, 2020 at 11:59
p.m. (prevailing Central Time), the Debtors shall file copies of all bids received by the Bid
Deadline.

3.      CREDIT BID

        Subject to the terms and conditions set forth in the DIP Order, the DIP Agent, with the
consent of the Required Lenders, shall have the right (on behalf of the DIP Lenders) to credit bid
the amounts of the DIP Obligations (other than, prior to the Challenge Period Termination Date,
the DIP Roll-Up Loans) in connection with any sale of all or substantially all of the Debtors’
assets and property. If the DIP Agent submits a credit bid in accordance with the foregoing, and
such bid is received by the Bid Deadline, such bidder shall be deemed to be a Qualified Bidder
and any such credit bid shall be deemed to be a Qualified Bid.

4.     SELECTION OF SUCCESSFUL BID(S) AND ALTERNATE BID(S)

         The Debtors, in consultation with the Consultation Parties, shall (a) review and evaluate
each bid on the basis of financial and contractual terms and other factors relevant to the sale
process, including those factors affecting the speed and certainty of consummating the sale
transaction, (b) determine and identify the highest or otherwise best offer or collection of offers
(the “Successful Bid(s)”), (c) determine and identify the next highest or otherwise best offer or
collection of offers (the “Alternate Bid(s)”), and (d) notify all Qualified Bidders (i) the identity
of the party or parties that submitted the Successful Bid(s) (the “Successful Bidder(s)”), (ii) the
amount and other material terms of the Successful Bid(s), (iii) the identity of the party or parties
that submitted the Alternate Bid(s) (the “Alternate Bidder(s)”), and (iv) the amount and other
material terms of the Alternate Bid(s). Each Qualified Bidder shall agree and be deemed to
agree to be the Alternate Bidder if so designated. Notwithstanding the foregoing sentence or
anything in the Bidding Procedures to the contrary, any Qualified Bid submitted by the DIP
Agent shall not be required to serve as an Alternate Bid absent consent of the DIP Agent.

         Absent further order or direction of the Court, by no later than March 30, 2020 at 11:59
p.m. (prevailing Central Time), the Debtors shall file copies of the following: (a) a notice
designating (after consultation with the Consultation Parties) the Successful Bidder(s) and
Alternate Bidders(s) for the Bid Assets (the “Notice of Bid Results”); provided that the Debtors
may determine not to designate Successful Bidders and Alternate Bidders with respect to certain
Bid Assets if they believe, in consultation with the Consultation Parties, that extending the sale
process with respect to such Bid Assets would likely to maximize value for the benefit of the
Debtors’ estates; and (b) final form(s) of order(s) approving the Sale Transaction(s) as agreed
upon between the Debtors (in consultation with the Consultation Parties) and the Successful
Bidder(s) (the “Sale Order(s)”).

          As soon as reasonably practicable after the filing of the Notice of Bid Results, (a) the
Successful Bidder(s) and the applicable Debtors shall complete and execute all agreements,
instruments, and other documents necessary to consummate the applicable sale or other
transaction(s) contemplated by the applicable Successful Bid(s) and (b) the Debtors shall
(i) deliver the Adequate Assurance Information to non-Debtor counterparties to contracts and
leases proposed to be assumed by the Debtors and assigned to the Successful Bidder(s) and


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Alternate Bidder(s), and (ii) deliver the Bonding Assurance Information to sureties providing
bonding for any licenses proposed to being transferred.

5.      THE SALE HEARING

        The hearing to consider the proposed Sale Order (the “Sale Hearing”) will be held on
April 3, 2020 at: 9:00 a.m. (prevailing Central time) before the Honorable Judge David R. Jones,
in the United States Bankruptcy Court for the Southern District of Texas, 515 Rusk St., Houston,
Texas 77002. The Sale Hearing may be adjourned by the Debtors, in consultation with the
Consultation Parties, by an announcement of the adjourned date at a hearing before the
Bankruptcy Court or by filing a notice on the Bankruptcy Court’s docket. At the Sale Hearing,
the Debtors will seek the Bankruptcy Court’s approval of the Successful Bid(s) and, at the
Debtors’ election, the Alternate Bid(s).

        The Debtors’ presentation to the Bankruptcy Court of the Successful Bid(s) and Alternate
Bid(s) will not constitute the Debtors’ acceptance of such bid(s), which acceptance will only
occur upon approval of such bid(s) by the Bankruptcy Court. Following the Bankruptcy Court’s
entry of the Sale Order, the Debtors and the Successful Bidder(s) shall proceed to consummate
the transaction(s) contemplated by the Successful Bid(s). If the Debtors and the Successful
Bidder(s) fail to consummate the proposed transaction(s), then the Debtors shall file a notice
with the Bankruptcy Court advising of such failure. Upon the filing of such notice with the
Bankruptcy Court, the Alternate Bid(s) will be deemed to be the Successful Bid(s) and the
Debtors will be authorized, but not directed, to effectuate the transaction(s) with the Alternate
Bidder(s) subject to the terms of the Alternate Bid(s) of such Alternate Bidder(s) without further
order of the Bankruptcy Court. If the failure to consummate the transaction(s) contemplated by
the Successful Bid(s) is the result of a breach by the Successful Bidder(s)
(the “Breaching Bidder(s)”) of its (their) asset purchase agreement(s), the Debtors reserve the
right to seek all available remedies from such Breaching Bidder(s), subject to the terms of the
applicable asset purchase agreement.

6.      RETURN OF GOOD FAITH DEPOSIT

         The Good Faith Deposits of all Qualified Bidders will be held in escrow by the Deposit
Agent and will not become property of the Debtors’ bankruptcy estates unless released to the
Debtors from escrow pursuant to terms of the applicable escrow agreement or pursuant to further
order of the Bankruptcy Court. The Deposit Agent will retain the Good Faith Deposits of the
Successful Bidder(s) and the Alternate Bidder(s) until the consummation of the transaction(s)
contemplated by the Successful Bid(s) or the Alternate Bid(s), as applicable, in accordance with
Section 4 above, except as otherwise ordered by the Bankruptcy Court. The Good Faith
Deposits (and all interest accrued thereon) of the other Qualified Bidders will be returned within
four business days after the entry of the applicable Sale Order(s). At the closing of the
transaction contemplated by the Successful Bid(s), the Successful Bidder(s) will receive a credit
in the amount of its Good Faith Deposit (plus all interest accrued thereon). All remaining Good
Faith Deposits of the Alternate Bidders (and all interest accrued thereon) held by the Deposit
Agent will be released by the Deposit Agent four business days after the consummation of the
transaction(s) contemplated by the Successful Bid(s); provided, however, that the Deposit Agent



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will retain the Good Faith Deposit of a Breaching Bidder pending a ruling by the Bankruptcy
Court as to the amount of damages owed, if any, by such Breaching Bidder to the Debtors.

7.      AS IS, WHERE IS

        The sale of the Bid Assets shall be on an “as is, where is” basis and without
representations or warranties of any kind, nature or description by the Debtors, their agents, or
their estates, except as provided in a purchase agreement, as approved by the Bankruptcy Court.

8.      FREE AND CLEAR OF ANY AND ALL INTERESTS

        Except as otherwise provided in a Successful Bidder(s)’s purchase agreement, all of the
Debtors’ right, title and interest in and to the Bid Assets subject thereto shall be sold free and
clear of any pledges, liens, security interests, encumbrances, claims, charges, options, and
interests thereon (collectively, the “Interests”) to the maximum extent permitted by section 363
of the Bankruptcy Code, with such Interests to attach to the net proceeds of the sale of the Bid
Assets with the same validity and priority as such Interests applied against the Bid Assets.

9.      RESERVATION OF RIGHTS

        Except as otherwise provided in these Bidding Procedures or the Bidding Procedures
Order, the Debtors reserve the right in their discretion (in consultation with the Consultation
Parties) to:

                •      determine which Interested Parties are Qualified Bidders;

                •      determine which bids are Qualified Bids;

                •      determine which Qualified Bid(s) is/are the highest or
                       otherwise best offer(s) for the Bid Assets and which is/are
                       the next highest or otherwise best offer(s);

                •      reject any bid that the Debtors deem to be (a) inadequate
                       or insufficient, (b) not in conformity with the
                       requirements of these Bidding Procedures or the
                       requirements of the Bankruptcy Code, the Bankruptcy
                       Rules, and the Local Bankruptcy Rules, or (c) contrary to
                       the best interests of the Debtors and their estates;

                •      impose additional terms and conditions with respect to all
                       Interested Parties;

                •      seek an extension of the deadlines set forth herein; and

                •      modify these Bidding Procedures and implement
                       additional procedural rules that the Debtors determine, in
                       consultation with the Consultation Parties, will better
                       promote the goals of the Bidding Process and discharge


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                        the Debtors’ fiduciary duties, in each case, to the extent
                        not materially inconsistent with these Bidding Procedures
                        and the Bidding Order.

        Nothing in these Bidding Procedures shall require the Debtors’ board of directors to take
any action, or to refrain from taking any action, with respect to these Bidding Procedures, to the
extent that the Debtors’ board of directors determines, or based on the advice of counsel, that
taking such action, or refraining from taking such action, as applicable, is required to comply
with applicable law or its fiduciary duties under applicable law (as reasonably determined in
good faith by the Debtors in consultation with their outside legal counsel). Accordingly, at any
time prior to the Bankruptcy Court’s entry of a Sale Order, the Debtors may withdraw the
Motion and pursue an alternative transaction, including a plan of reorganization.

        Subject to consent and consultation rights of the Consultation Parties set forth herein, all
parties reserve their rights to seek Bankruptcy Court relief with regard to the Bidding Procedures
and any related items. All Consultation Parties will be permitted to seek relief from the
Bankruptcy Court on an expedited basis if they disagree with any actions or decision made by
the Debtors as part of these Bidding Procedures. The rights of all Consultation Parties with
respect to the outcome of the bidding process are reserved.

10.     RELEVANT DATES

 March 19, 2020 at 2:00 p.m.       Hearing to consider approval of the Bidding Procedures and
 (prevailing Central Time)         entry of the Bidding Procedures Order
 March 20, 2020                    Target date for the Debtors to file Potential Assumed Contracts
                                   Schedule
 March 30, 2020 at 12:00 p.m.      Bid Deadline
 (prevailing Central Time)
 March 30, 2020 at 11:59 p.m.      Deadline for the Debtors to file with the Court copies of all bids
 (prevailing Central Time)         received by the Bid Deadline, the Notice of Bid Results, and the
                                   proposed Sale Order(s)
 April 1, 2020 at 12:00 p.m.       Deadline to object to the Sale Transaction(s) to the Successful
 (prevailing Central Time)         Bidder(s), and Assumption and Assignment Objection Deadline
 April 3, 2020 at 9:00 a.m.        Sale Hearing
 (prevailing Central Time)




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                         Form of Sale Notice
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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

_________________________________________
                                          )
In re:                                    )                           Chapter 11
                                          )
SOUTHERN FOODS GROUPS, LLC, et al.,       )                           Case No. 19-36313 (DRJ)
                                          )
            Debtors. 1                    )                           Jointly Administered
                                          )
_________________________________________ )

        NOTICE OF SALE, BIDDING PROCEDURES, AND SALE HEARING
______________________________________________________________________________

        PLEASE TAKE NOTICE that the above-captioned debtors and debtors in possession
(collectively, the “Debtors”) each filed a voluntary petition for relief under chapter 11 of title 11
of the United States Code in the United States Bankruptcy Court for the Southern District of
Texas (the “Court”) on November 12, 2019.

        PLEASE TAKE FURTHER NOTICE that, on February 17, 2020, in connection with
the proposed sale (the “Sale Transaction”) of all, substantially all, or a portion of Debtors’
assets (collectively, the “Bid Assets”), the Debtors filed a motion (the “Bidding Procedures
Motion”) 2 with the Court seeking entry of orders, among other things, approving (a) procedures
for the solicitation of bids in connection with the Sale Transaction (the “Bidding Procedures”),
(b) the form and manner of notice related to the Sale Transaction, and (c) procedures for the
assumption and assignment of contracts and leases in connection with the Sale Transaction.

          1
           The debtors and debtors in possession in these chapter 11 cases, along with the last four digits of their
respective Employer Identification Numbers, are as follows: Southern Foods Group, LLC (1364); Dean Foods
Company (9681); Alta-Dena Certified Dairy, LLC (1347); Berkeley Farms, LLC (8965); Cascade Equity Realty,
LLC (3940); Country Fresh, LLC (6303); Dairy Information Systems Holdings, LLC (9144); Dairy Information
Systems, LLC (0009); Dean Dairy Holdings, LLC (9188); Dean East II, LLC (9192); Dean East, LLC (8751); Dean
Foods North Central, LLC (7858); Dean Foods of Wisconsin, LLC (2504); Dean Holding Company (8390); Dean
Intellectual Property Services II, Inc. (3512); Dean International Holding Company (9785); Dean Management, LLC
(7782); Dean Puerto Rico Holdings, LLC (6832); Dean Services, LLC (2168); Dean Transportation, Inc. (8896);
Dean West II, LLC (9190); Dean West, LLC (8753); DFC Aviation Services, LLC (1600); DFC Energy Partners,
LLC (3889); DFC Ventures, LLC (4213); DGI Ventures, Inc. (6766); DIPS Limited Partner II (7167); Franklin
Holdings, Inc. (8114); Fresh Dairy Delivery, LLC (2314); Friendly’s Ice Cream Holdings Corp. (7609); Friendly’s
Manufacturing and Retail, LLC (9828); Garelick Farms, LLC (3221); Mayfield Dairy Farms, LLC (3008); Midwest
Ice Cream Company, LLC (0130); Model Dairy, LLC (7981); Reiter Dairy, LLC (3675); Sampson Ventures, LLC
(7714); Shenandoah’s Pride, LLC (2858); Steve’s Ice Cream, LLC (6807); Suiza Dairy Group, LLC (2039);
Tuscan/Lehigh Dairies, Inc. (6774); Uncle Matt’s Organic, Inc. (0079); and Verifine Dairy Products of Sheboygan,
LLC (7200). The debtors’ mailing address is 2711 North Haskell Avenue, Suite 3400, Dallas, TX 75204.
          2
         Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the
Bidding Procedures Motion.
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       PLEASE TAKE FURTHER NOTICE that, on [March 19], 2020, the Court entered an
order (the “Bidding Procedures Order”) approving, among other things, the Bidding
Procedures, which establish the key dates and times related to the Sale Transaction (as modified
by such Bidding Procedures Order). All parties interested in bidding should carefully read the
Bidding Procedures Order and the Bidding Procedures in their entirety. 3

                     Contact Persons for Parties Interest in Submitting a Bid

        The Bidding Procedures set forth the requirements for submitting a bid, and any person
interested in making an offer to purchase the Bid Assets should comply with the Bidding
Procedures.

                       Any interested bidder should contact, as soon as practicable:

                                    EVERCORE GROUP L.L.C. 4
                                          55 East 52nd Street
                                        New York, NY 10055
                                           Attn.: John Kimm
                                      john.kimm@evercore.com
                                       (tel.) +1 (212) 849-3436

                                   Obtaining Additional Information

        Copies of the Bidding Procedures Motion and the Bidding Procedures Order, as well as
all related exhibits (including the Bidding Procedures) and all other documents filed with the
Court, are available free of charge on the Debtors’ case information website, located at
https://dm.epiq11.com/SouthernFoods       or    can     be     requested   by      email    at
DeanInfo@epiqglobal.com.

                                    Important Dates and Deadlines

    1. Bid Deadline. The deadline to submit a bid is March 30, 2020 at 12:00 p.m.
       (prevailing Central Time).

    2. Public Filings. Absent further order or direction of the Court, by no later than March 30,
       2020 at 11:59 p.m. (prevailing Central Time), the Debtors shall file copies of the
       following: (a) all bids received by the Bid Deadline; (b) a Notice of Bid Results;
       provided that the Debtors may determine not to designate Successful Bidders and
       Alternate Bidders with respect to certain Bid Assets if they believe, in consultation with
       the Consultation Parties, that extending the sale process with respect to such Bid Assets

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         To the extent of any inconsistencies between the Bidding Procedures and the summary descriptions of the
Bidding Procedures in this notice, the terms of the Bidding Procedures shall control in all respects.
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         Evercore Group L.L.C., in its capacity as financial advisor the Debtors, is referred to herein as
“Evercore.”
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       would likely to maximize value for the benefit of the Debtors’ estates; and (c) the
       proposed Sale Order(s).

   3. Sale Objection Deadline. The deadline to file an objection with the Court to the
      proposed Sale Order(s) or the Sale Transaction(s) (collectively, the “Sale Objections”) is
      April 1, 2020 at 12:00 pm. (prevailing Central Time) (the “Sale Objection Deadline”).

   4. Sale Hearing. A hearing (the “Sale Hearing”) to consider the proposed Sale
      Transaction(s) will be held before the Court on April 3, 2020 at 9:00 a.m. (prevailing
      Central Time) 5 or such other date as determined by the Court, at 515 Rusk St., Houston,
      Texas 77002.

                                               Filing Objections

        Sale Objections, if any, must (a) be in writing, (b) state, with specificity, the legal and
factual bases thereof, (c) comply with the Bankruptcy Code, Bankruptcy Rules, and Local Rules,
(d) be filed with the Court no later than the Sale Objection Deadline, and (e) no later than the
Sale Objection deadline, be served on (i) counsel to the Debtors, (y) Davis Polk & Wardwell
LLP, 450 Lexington Avenue, New York, New York 10017, Attn: Brian M. Resnick, Steven Z.
Szanzer, and Nate Sokol and (z) Norton Rose Fulbright US LLP, 1301 McKinney Street, Suite
5100, Houston, Texas 77010, Attn: William Greendyke, Jason L. Boland, Robert B. Bruner, and
Julie Harrison, (ii) (y) counsel to the DIP Agent and the Prepetition Agent, White & Case LLP,
1221 Avenue of the Americas, New York, NY 10020, Attn: Scott Greissman, Philip Abelson,
and Elizabeth Feld and (z) Gray Reed, 1300 Post Oak Blvd, Suite 2000, Houston, TX 77056,
Attn: Jason S. Brookner, (iii) counsel to the Committee, Akin Gump Strauss Hauer & Feld LLP,
One Bryant Park, New York, NY 10036, Attn: Philip Dublin and Meredith Lahaie, and (iv) the
U.S. Trustee.

           CONSEQUENCES OF FAILING TO TIMELY ASSERT AN OBJECTION

       Any party or entity who fails to timely make an objection to the Sale Transaction(s) on
or before the Sale Objection Deadline in accordance with the Bidding Procedures Order and
this Notice shall be forever barred from asserting any objection to the Sale Transaction(s),
including with respect to the transfer of the assets free and clear of all liens, claims,
encumbrances, and other interests.

                                      NO SUCCESSOR LIABILITY

       The Debtors are a leading public food and beverage company and the largest processor
and direct-to-store distributor of fresh fluid milk and other dairy and dairy case products in
the United States. The Debtors manufacture, market, and distribute a wide variety of branded
and private label dairy and dairy case products, including fluid milk, ice cream, cultured dairy
products, creamers, ice cream mix, and other dairy products to retailers, distributors,
foodservice outlets, educational institutions, and governmental entities across the United
States. For more information on the Debtors’ businesses or their products, refer to the

       5
           This date remains subject to Court approval.
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Declaration of Gary Rahlfs in Support of Debtors’ Chapter 11 Proceedings and First Day
Pleadings [D.I. 46]. The assets sold in the Sale Transaction(s) will be free and clear of,
among other things, any claim arising from any conduct of the Debtors prior to the closing of
the Sale Transaction(s), whether known or unknown, whether due or to become due, whether
accrued, absolute, contingent, or otherwise, so long as such claim arises out of or relates to
events occurring prior to the closing of the Sale Transaction(s). Accordingly, as a result of the
Sale Transaction(s), the Successful Bidder(s) will not be a successor to any of the Debtors by
reason of any theory of law or equity, and the Successful Bidder(s) will have no liability,
except as expressly provided a definitive agreement reached between the Debtors and the
Successful Bidder(s), for any liens, claims, encumbrances, and other interests against or in
any of the Debtors under any theory of law, including successor liability theories.



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     Case 19-36313 Document 1178 Filed in TXSB on 03/19/20 Page 31 of 43




Dated:   [·], 2020
         Houston, Texas
                                     Respectfully submitted,
                                     NORTON ROSE FULBRIGHT US LLP

                                     /s/ Draft
                                      William R. Greendyke (SBT 08390450)
                                      Jason L. Boland (SBT 24040542)
                                      Robert B. Bruner (SBT 24062637)
                                      Julie Goodrich Harrison (SBT 24092434)
                                      1301 McKinney Street, Suite 5100
                                      Houston, Texas 77010-3095
                                      Tel.: (713) 651-5151
                                      Fax: (713) 651-5246
                                      william.greendyke@nortonrosefulbright.com
                                      jason.boland@nortonrosefulbright.com
                                      bob.bruner@nortonrosefulbright.com
                                      julie.harrison@nortonrosefulbright.com

                                     -and-

                                     DAVIS POLK & WARDWELL LLP

                                     Brian M. Resnick (admitted pro hac vice)
                                     Elliot Moskowitz (admitted pro hac vice)
                                     Steven Szanzer (admitted pro hac vice)
                                     Nate Sokol (admitted pro hac vice)
                                     450 Lexington Avenue
                                     New York, New York 10017
                                     Tel.: (212) 450-4000
                                     Fax: (212) 701-5800
                                     brian.resnick@davispolk.com
                                     elliot.moskowitz@davispolk.com
                                     steven.szanzer@davispolk.com
                                     nathaniel.sokol@davispolk.com

                                     Counsel to the Debtors and Debtors in Possession




                                      5
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           Form of Potential Assumption and Assignment Notice
         Case 19-36313 Document 1178 Filed in TXSB on 03/19/20 Page 33 of 43




                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

_________________________________________
                                          )
In re:                                    )                           Chapter 11
                                          )
SOUTHERN FOODS GROUPS, LLC, et al.,       )                           Case No. 19-36313 (DRJ)
                                          )
            Debtors. 1                    )                           Jointly Administered
                                          )
_________________________________________ )

   NOTICE OF POTENTIAL ASSUMPTION AND ASSIGNMENT OF EXECUTORY
            CONTRACTS OR UNEXPIRED LEASES AND CURE COSTS
______________________________________________________________________________

        PLEASE TAKE NOTICE that the above-captioned debtors and debtors in possession
(collectively, the “Debtors”) each filed a voluntary petition for relief under chapter 11 of title 11
of the United States Code (the “Bankruptcy Code”) in the United States Bankruptcy Court for
the Southern District of Texas (the “Court”) on November 12, 2019.

        PLEASE TAKE FURTHER NOTICE that, on February 17, 2020, in connection with
the proposed sale (the “Sale Transaction”) of all, substantially all, or a portion of Debtors’
assets (collectively, the “Bid Assets”), the Debtors filed a motion (the “Bidding Procedures
Motion”) 2 with the Court seeking entry of orders, among other things, approving (a) procedures
for the solicitation of bids in connection with the Sale Transaction (the “Bidding Procedures”),
(b) the form and manner of notice related to the Sale Transaction, and (c) procedures for the

          1
           The debtors and debtors in possession in these chapter 11 cases, along with the last four digits of their
respective Employer Identification Numbers, are as follows: Southern Foods Group, LLC (1364); Dean Foods
Company (9681); Alta-Dena Certified Dairy, LLC (1347); Berkeley Farms, LLC (8965); Cascade Equity Realty,
LLC (3940); Country Fresh, LLC (6303); Dairy Information Systems Holdings, LLC (9144); Dairy Information
Systems, LLC (0009); Dean Dairy Holdings, LLC (9188); Dean East II, LLC (9192); Dean East, LLC (8751); Dean
Foods North Central, LLC (7858); Dean Foods of Wisconsin, LLC (2504); Dean Holding Company (8390); Dean
Intellectual Property Services II, Inc. (3512); Dean International Holding Company (9785); Dean Management, LLC
(7782); Dean Puerto Rico Holdings, LLC (6832); Dean Services, LLC (2168); Dean Transportation, Inc. (8896);
Dean West II, LLC (9190); Dean West, LLC (8753); DFC Aviation Services, LLC (1600); DFC Energy Partners,
LLC (3889); DFC Ventures, LLC (4213); DGI Ventures, Inc. (6766); DIPS Limited Partner II (7167); Franklin
Holdings, Inc. (8114); Fresh Dairy Delivery, LLC (2314); Friendly’s Ice Cream Holdings Corp. (7609); Friendly’s
Manufacturing and Retail, LLC (9828); Garelick Farms, LLC (3221); Mayfield Dairy Farms, LLC (3008); Midwest
Ice Cream Company, LLC (0130); Model Dairy, LLC (7981); Reiter Dairy, LLC (3675); Sampson Ventures, LLC
(7714); Shenandoah’s Pride, LLC (2858); Steve’s Ice Cream, LLC (6807); Suiza Dairy Group, LLC (2039);
Tuscan/Lehigh Dairies, Inc. (6774); Uncle Matt’s Organic, Inc. (0079); and Verifine Dairy Products of Sheboygan,
LLC (7200). The debtors’ mailing address is 2711 North Haskell Avenue, Suite 3400, Dallas, TX 75204.
          2
         Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the
Bidding Procedures Motion.
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assumption and assignment of contracts and leases in connection with the Sale Transaction (the
“Assumption and Assignment Procedures”).

        PLEASE TAKE FURTHER NOTICE that, on [March 19], 2020, the Court entered an
order (the “Bidding Procedures Order”) approving, among other things, the Bidding
Procedures (as modified by such Bidding Procedures Order), which establish the key dates and
times related to the Sale Transaction and the Assumption and Assignment Procedures.

       PLEASE TAKE FURTHER NOTICE that, upon the closing of a Sale Transaction, the
Debtors intend to assume and assign to the Successful Bidder(s) the Potential Assumed Contracts.
A schedule listing the Potential Assumed Contracts (the “Potential Assumed Contracts
Schedule”) is attached hereto and may also be accessed free of charge on the Debtors’ case
information website, located at https://dm.epiq11.com/SouthernFoods or can be requested by
email at DeanInfo@epiqglobal.com. In addition, the “Cure Costs” as of the date of the Bidding
Procedures Order, if any, necessary for the assumption and assignment of the Potential Assumed
Contracts are set forth on the Potential Assumed Contracts Schedule. Each Cure Cost listed on
the Potential Assumed Contracts Schedule represents all liabilities of any nature of the
Debtors arising under an Assumed Contract or Assumed Lease as of the date of the Bidding
Procedures Order, whether known or unknown, whether due or to become due, whether
accrued, absolute, contingent, or otherwise.

        YOU ARE RECEIVING THIS NOTICE BECAUSE YOU HAVE BEEN
IDENTIFIED AS A COUNTERPARTY TO A POTENTIAL ASSUMED CONTRACT.
Under the terms of the Assumption and Assignment Procedures, (a) at or prior to the closing of a
Sale Transaction, a Successful Bidder may elect, in its sole and absolute discretion, (i) to
exclude any contract or lease on the Potential Assumed Contracts Schedule as an Assumed
Contract or Assumed Lease, as applicable (in which case it shall become an Excluded Contract
or Excluded Lease, as applicable, and will not reduce the purchase price) or (ii) to include on its
Proposed Assumed Contracts Schedule any contract or lease listed on the Potential Assumed
Contracts Schedule, so long as such Successful Bidder is paying the Cure Costs therefor, by
providing to the Debtors written notice of its election to exclude or include such contract or lease,
as applicable, (b) if the Debtors or any Successful Bidder identify during the pendency of the
Chapter 11 Cases (before the closing of the Sale Transaction) any contract or lease that is not
listed on the Proposed Assumed Contracts Schedule, and such contract or lease has not been
rejected by the Debtors, so long as the Successful Bidder is paying the Cure Costs therefor, each
Successful Bidder may in its sole and absolute discretion elect by written notice to the Debtors to
treat such contract or lease as an Assumed Contract or Assumed Lease, as applicable, and the
Debtors shall seek to assume and assign such Assumed Contract or Assumed Lease in
accordance with the Bidding Procedures, and (c) the Debtors may, in accordance the applicable
purchase agreement, or as otherwise agreed by the Debtors and the Successful Bidder(s), at any
time before the closing of a Sale Transaction, modify the previously stated Cure Costs associated
with any Proposed Assumed Contract. The Assumption and Assignment Procedures further
provide that any Counterparty whose previously-stated Cure Cost is modified will receive notice
thereof and an opportunity to file a Supplemental Assignment Objection. The assumption and
assignment of the Contracts and Leases on the Potential Assumed Contracts Schedule is
not guaranteed and is subject to approval by the Court and the Debtors’ or Successful


                                                 2
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Bidder’s right to remove an Assumed Contract or Assumed Lease from the Potential
Assumed Contracts Schedule and Proposed Assumed Contracts Schedule.

                               Obtaining Additional Information

        Copies of the Bidding Procedures Motion and the Bidding Procedures Order, as well as
all related exhibits (including the Bidding Procedures) and all other documents filed with the
Court, are available free of charge on the Debtors’ case information website, located at
https://dm.epiq11.com/SouthernFoods       or    can     be     requested   by      email    at
DeanInfo@epiqglobal.com.

                        Filing Assumption and Assignment Objections

        Pursuant to the Assumption and Assignment Procedures, objections to the potential
assumption and assignment of an Assumed Contract or Assumed Lease (an “Assumption and
Assignment Objection”) with respect to the Debtors’ proposed Cure Costs, if any, or the ability
of a Successful Bidder to provide adequate assurance of future performance must (a) be in
writing, (b) comply with the Bankruptcy Code, Bankruptcy Rules, and Local Rules, (c) state,
with specificity, the legal and factual bases thereof, including, if applicable, the Cure Cost that
the Counterparty believes is required to cure defaults under the relevant Assumed Contract or
Assumed Lease, and (d) by no later than April 1, 2020 at 12:00 p.m. (prevailing Central Time)
(the “Assumption and Assignment Objection Deadline”), (i) be filed with the Court and (ii) be
served on (A) counsel to the Debtors, (1) Davis Polk & Wardwell LLP, 450 Lexington Avenue,
New York, New York 10017, Attn: Brian M. Resnick, Steven Z. Szanzer, and Nate Sokol and
(2) Norton Rose Fulbright US LLP, 1301 McKinney Street, Suite 5100, Houston, Texas 77010,
Attn: William Greendyke, Jason L. Boland, Robert B. Bruner, and Julie Harrison, (B) (1) counsel
to the DIP Agent and the Prepetition Agent, White & Case LLP, 1221 Avenue of the Americas,
New York, NY 10020, Attn: Scott Greissman, Philip Abelson, and Elizabeth Feld and (2) Gray
Reed, 1300 Post Oak Blvd, Suite 2000, Houston, TX 77056, Attn: Jason S. Brookner, (C)
counsel to the Committee, Akin Gump Strauss Hauer & Feld LLP, One Bryant Park, New York,
NY 10036, Attn: Philip Dublin and Meredith Lahaie, and (D) the U.S. Trustee (collectively, the
“Objection Notice Parties”).

         Pursuant to the Assumption and Assignment Procedures, objections to the potential
assumption and assignment of an Assumed Contract or Assumed Lease by a party whose
contract or lease is listed on a Supplemental Assumption and Assignment Notice (a
“Supplemental Assumption and Assignment Objection”) with respect to the ability of a
Successful Bidder to provide adequate assurance of future performance or relating to the Cure
Costs (to the extent modified form the previously-stated amount) must (a) be in writing,
(b) comply with the Bankruptcy Code, Bankruptcy Rules, and Local Rules, (c) state, with
specificity, the legal and factual bases thereof, and (d) by no later than 14 days from the date of
service of such Supplemental Assumption and Assignment Notice, (i) be filed with the Court and
(ii) be served on the Objection Notice Parties.

       Objections to a Sale Order or a Sale Transaction (collectively, the “Sale Objections”)
must (a) be in writing, (b) state, with specificity, the legal and factual bases thereof, (c) comply
with the Bankruptcy Code, Bankruptcy Rules and Local Rules, and (d) April 1, 2020 at 12:00

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p.m. (prevailing Central Time) by (the “Sale Objection Deadline”) be (i) filed with the Court
and (ii) served on the Objection Notice Parties.

       A hearing to consider the proposed Sale Transaction will be held before the Court on
April 3, 2020 at 9:00 a.m. (prevailing Central Time) or such other date as determined by the
Court at 515 Rusk St., Houston, Texas 77002.

       CONSEQUENCES OF FAILING TO TIMELY ASSERT AN OBJECTION

        Any Counterparty to a contract or lease who fails to timely make an objection to the
potential assumption and assignment of such contract or lease on or before the Assumption
and Assignment Objection Deadline in accordance with the Assumption and Assignment
Procedures, the Bidding Procedures Order, and this Notice (or in the case of a Supplemental
Assumption and Assignment Objection, by 14 days from the date of service of such
Supplemental Assumption and Assignment Notice) shall be deemed to have consented to the
assumption and assignment of such contract or lease, including the Cure Costs (if any) set
forth in the Potential Assumption and Assignment Notice or Supplemental Assumption and
Assignment Notice, and shall be forever barred from asserting any objection or claims against
the Debtors, the Successful Bidder(s), or the property of any such parties, relating to the
assumption and assignment of such contract or lease, including asserting additional Cure
Costs with respect to such contract or lease. Notwithstanding anything to the contrary in such
contract or lease, or any other document, the Cure Costs set forth in the Potential Assumption
and Assignment Notice or Supplemental Assumption and Assignment Notice shall be
controlling and will be the only amount necessary to cure outstanding defaults under the
applicable Assumed Contract or Assumed Lease under section 365(b) of the Bankruptcy Code
as of the date of the Bidding Procedures Order, whether known or unknown, whether due or
to become due, whether accrued, absolute, contingent, or otherwise.




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Dated:   [·], 2020
         Houston, Texas
                                     Respectfully submitted,
                                     NORTON ROSE FULBRIGHT US LLP

                                     /s/ Draft
                                      William R. Greendyke (SBT 08390450)
                                      Jason L. Boland (SBT 24040542)
                                      Robert B. Bruner (SBT 24062637)
                                      Julie Goodrich Harrison (SBT 24092434)
                                      1301 McKinney Street, Suite 5100
                                      Houston, Texas 77010-3095
                                      Tel.: (713) 651-5151
                                      Fax: (713) 651-5246
                                      william.greendyke@nortonrosefulbright.com
                                      jason.boland@nortonrosefulbright.com
                                      bob.bruner@nortonrosefulbright.com
                                      julie.harrison@nortonrosefulbright.com

                                     -and-

                                     DAVIS POLK & WARDWELL LLP

                                     Brian M. Resnick (admitted pro hac vice)
                                     Elliot Moskowitz (admitted pro hac vice)
                                     Steven Szanzer (admitted pro hac vice)
                                     Nate Sokol (admitted pro hac vice)
                                     450 Lexington Avenue
                                     New York, New York 10017
                                     Tel.: (212) 450-4000
                                     Fax: (212) 701-5800
                                     brian.resnick@davispolk.com
                                     elliot.moskowitz@davispolk.com
                                     steven.szanzer@davispolk.com
                                     nathaniel.sokol@davispolk.com

                                     Counsel to the Debtors and Debtors in Possession




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          Form of Proposed Assumption and Assignment Notice
         Case 19-36313 Document 1178 Filed in TXSB on 03/19/20 Page 39 of 43




                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

_________________________________________
                                          )
In re:                                    )                           Chapter 11
                                          )
SOUTHERN FOODS GROUPS, LLC, et al.,       )                           Case No. 19-36313 (DRJ)
                                          )
            Debtors. 1                    )                           Jointly Administered
                                          )
_________________________________________ )

   NOTICE OF PROPOSED ASSUMPTION AND ASSIGNMENT OF EXECUTORY
            CONTRACTS OR UNEXPIRED LEASES AND CURE COSTS
______________________________________________________________________________

        PLEASE TAKE NOTICE that the above-captioned debtors and debtors in possession
(collectively, the “Debtors”) each filed a voluntary petition for relief under chapter 11 of title 11
of the United States Code (the “Bankruptcy Code”) in the United States Bankruptcy Court for
the Southern District of Texas (the “Court”) on November 12, 2019.

        PLEASE TAKE FURTHER NOTICE that, on February 17, 2020, in connection with
the proposed sale (the “Sale Transaction”) of all, substantially all, or a portion of Debtors’
assets (collectively, the “Bid Assets”), the Debtors filed a motion (the “Bidding Procedures
Motion”) 2 with the Court seeking entry of orders, among other things, approving (a) procedures
for the solicitation of bids in connection with the Sale Transaction (the “Bidding Procedures”),
(b) the form and manner of notice related to the Sale Transaction, and (c) procedures for the

          1
           The debtors and debtors in possession in these chapter 11 cases, along with the last four digits of their
respective Employer Identification Numbers, are as follows: Southern Foods Group, LLC (1364); Dean Foods
Company (9681); Alta-Dena Certified Dairy, LLC (1347); Berkeley Farms, LLC (8965); Cascade Equity Realty,
LLC (3940); Country Fresh, LLC (6303); Dairy Information Systems Holdings, LLC (9144); Dairy Information
Systems, LLC (0009); Dean Dairy Holdings, LLC (9188); Dean East II, LLC (9192); Dean East, LLC (8751); Dean
Foods North Central, LLC (7858); Dean Foods of Wisconsin, LLC (2504); Dean Holding Company (8390); Dean
Intellectual Property Services II, Inc. (3512); Dean International Holding Company (9785); Dean Management, LLC
(7782); Dean Puerto Rico Holdings, LLC (6832); Dean Services, LLC (2168); Dean Transportation, Inc. (8896);
Dean West II, LLC (9190); Dean West, LLC (8753); DFC Aviation Services, LLC (1600); DFC Energy Partners,
LLC (3889); DFC Ventures, LLC (4213); DGI Ventures, Inc. (6766); DIPS Limited Partner II (7167); Franklin
Holdings, Inc. (8114); Fresh Dairy Delivery, LLC (2314); Friendly’s Ice Cream Holdings Corp. (7609); Friendly’s
Manufacturing and Retail, LLC (9828); Garelick Farms, LLC (3221); Mayfield Dairy Farms, LLC (3008); Midwest
Ice Cream Company, LLC (0130); Model Dairy, LLC (7981); Reiter Dairy, LLC (3675); Sampson Ventures, LLC
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Tuscan/Lehigh Dairies, Inc. (6774); Uncle Matt’s Organic, Inc. (0079); and Verifine Dairy Products of Sheboygan,
LLC (7200). The debtors’ mailing address is 2711 North Haskell Avenue, Suite 3400, Dallas, TX 75204.
          2
         Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the
Bidding Procedures Motion.
      Case 19-36313 Document 1178 Filed in TXSB on 03/19/20 Page 40 of 43




assumption and assignment of contracts and leases in connection with the Sale Transaction (the
“Assumption and Assignment Procedures”).

        PLEASE TAKE FURTHER NOTICE that, on [March 19], 2020 the Court entered an
order (the “Bidding Procedures Order”) approving, among other things, the Bidding
Procedures, as modified by such Bidding Procedures Order, which establish the key dates and
times related to the Sale Transaction, and the Assumption and Assignment Procedures.

       PLEASE TAKE FURTHER NOTICE that, upon the closing of a Sale Transaction, the
Debtors intend to assume and assign to the Successful Bidder(s) the Proposed Assumed
Contracts. A schedule listing the Proposed Assumed Contracts (the “Proposed Assumed
Contracts Schedule”) is attached hereto and may also be accessed free of charge on the
Debtors’ case information website, located at https://dm.epiq11.com/SouthernFoods or can be
requested by e-mail at DeanInfo@epiqglobal.com. In addition, the “Cure Costs” as of the date
of the Bidding Procedures Order, if any, necessary for the assumption and assignment of the
Proposed Assumed Contracts are set forth on the Potential Assumed Contracts Schedule.

        YOU ARE RECEIVING THIS NOTICE BECAUSE YOU HAVE BEEN
IDENTIFIED AS A COUNTERPARTY TO A PROPOSED ASSUMED CONTRACT.
Under the terms of the Assumption and Assignment Procedures, (a) at or prior to the closing of a
Sale Transaction, the Successful Bidder(s) may elect, in its sole and absolute discretion, (i) to
exclude any contract or lease on the Proposed Assumed Contracts Schedule as an Assumed
Contract or Assumed Lease, as applicable (in which case it shall become an Excluded Contract
or Excluded Lease, as applicable, and will not reduce the purchase price), or (ii) to include on its
Proposed Assumed Contracts Schedule any contract or lease listed on the Potential Assumed
Contracts Schedule, so long as such Successful Bidder is paying the Cure Costs therefor, by
providing to the Debtors written notice of its election to exclude or include such contract or lease,
as applicable (b) if the Debtors or any Successful Bidder identify during the pendency of the
Chapter 11 Cases (before the closing of the Sale Transaction) any contract or lease that is not
listed on the Proposed Assumed Contracts Schedule, and such contract or lease has not been
rejected by the Debtors, so long as the Successful Bidder is paying the Cure Costs therefor, each
Successful Bidder may in its sole and absolute discretion elect by written notice to the Debtors to
treat such contract or lease as an Assumed Contract or Assumed Lease, as applicable, and the
Debtors shall seek to assume and assign such Assumed Contract or Assumed Lease in
accordance with the Bidding Procedures, and (c) the Debtors may, in accordance with the
applicable purchase agreement, or as otherwise agreed by the Debtors and the Successful
Bidder(s), at any time before the closing of a Sale Transaction, modify the previously-stated
Cure Costs associated with any Proposed Assumed Contract. The Assumption and Assignment
Procedures further provide that any Counterparty whose previously-stated Cure Cost is modified
will receive notice thereof and an opportunity to file a Supplemental Assumption and
Assignment Objection. The assumption and assignment of the Contracts and Leases on the
Proposed Assumed Contracts Schedule is not guaranteed and is subject to approval by the
Court and the Debtors’ or Successful Bidder’s right to remove an Assumed Contract or
Assumed Lease from the Proposed Assumed Contracts Schedule.




                                                 2
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                               Obtaining Additional Information

        Copies of the Bidding Procedures Motion and the Bidding Procedures Order, as well as
all related exhibits (including the Bidding Procedures) and all other documents filed with the
Court, are available free of charge on the Debtors’ case information website, located at
https://dm.epiq11.com/SouthernFoods       or    can     be    requested    by     e-mail    at
DeanInfo@epiqglobal.com.

                        Filing Assumption and Assignment Objections

        Pursuant to the Assumption and Assignment Procedures, objections to the proposed
assumption and assignment of an Assumed Contract or Assumed Lease (an “Assumption and
Assignment Objection”) with respect to the Debtors’ proposed Cure Costs, if any, or the ability
of the Successful Bidder(s) to provide adequate assurance of future performance must (a) be in
writing, (b) comply with the Bankruptcy Code, Bankruptcy Rules, and Local Rules, (c) state,
with specificity, the legal and factual bases thereof, including, if applicable, the Cure Cost that
the Counterparty believes is required to cure defaults under the relevant Assumed Contract or
Assumed Lease, and (d) by no later than April 1, 2020 at 12:00 p.m. (prevailing Central Time)
(the “Assumption and Assignment Objection Deadline”), (i) be filed with the Court and (ii) be
served on (A) counsel to the Debtors, (1) Davis Polk & Wardwell LLP, 450 Lexington Avenue,
New York, New York 10017, Attn: Brian M. Resnick, Steven Z. Szanzer, and Nate Sokol, and
(2) Norton Rose Fulbright US LLP, 1301 McKinney Street, Suite 5100, Houston, Texas 77010,
Attn: William Greendyke, Jason L. Boland, Robert B. Bruner, and Julie Harrison, (B) (1) counsel
to the DIP Agent and the Prepetition Agent, White & Case LLP, 1221 Avenue of the Americas,
New York, NY 10020, Attn: Scott Greissman, Philip Abelson, and Elizabeth Feld and (2) Gray
Reed, 1300 Post Oak Blvd, Suite 2000, Houston, TX 77056, Attn: Jason S. Brookner,
(C) counsel to the Committee, Akin Gump Strauss Hauer & Feld LLP, One Bryant Park, New
York, NY 10036, Attn: Philip Dublin and Meredith Lahaie, and (D) the U.S. Trustee
(collectively, the “Objection Notice Parties”).

        Objections to a Sale Order or a Sale Transaction (collectively, the “Sale Objections”)
must (a) be in writing, (b) state, with specificity, the legal and factual bases thereof, (c) comply
with the Bankruptcy Code, Bankruptcy Rules and Local Rules, and (d) April 1, 2020 at 12:00
p.m. (prevailing Central Time) by (the “Sale Objection Deadline”) be (i) filed with the Court
and (ii) served on the Objection Notice Parties.

       A hearing to consider the proposed Sale Transaction will be held before the Court on
April 3, 2020 at 9:00 a.m. (prevailing Central Time) or such other date as determined by the
Court at 515 Rusk St., Houston, Texas 77002.

        CONSEQUENCES OF FAILING TO TIMELY ASSERT AN OBJECTION

       Any Counterparty to a contract or lease who fails to timely make an objection to the
potential assumption and assignment of such contract or lease on or before the Assumption
and Assignment Objection Deadline in accordance with the Assumption and Assignment
Procedures, the Bidding Procedures Order, and this Notice (or in the case of a Supplemental

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Assumption and Assignment Objection, by 14 days from the date of service of such
Supplemental Assumption and Assignment Notice) shall be deemed to have consented to the
assumption and assignment of such contract or lease, including the Cure Costs (if any) set
forth in the Potential Assumption and Assignment Notice or Supplemental Assumption and
Assignment Notice, and shall be forever barred from asserting any objection or claims against
the Debtors, the Successful Bidder(s), or the property of any such parties, relating to the
assumption and assignment of such contract or lease, including asserting additional Cure
Costs with respect to such contract or lease. Notwithstanding anything to the contrary in such
contract or lease, or any other document, the Cure Costs set forth in the Potential Assumption
and Assignment Notice or Supplemental Assumption and Assignment Notice shall be
controlling and will be the only amount necessary to cure outstanding defaults under the
applicable Assumed Contract or Assumed Lease under section 365(b) of the Bankruptcy Code
as of the date of the Bidding Procedures Order, whether known or unknown, whether due or
to become due, whether accrued, absolute, contingent, or otherwise.



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Dated:   [·], 2020
         Houston, Texas
                                     Respectfully submitted,
                                     NORTON ROSE FULBRIGHT US LLP

                                     /s/ Draft
                                      William R. Greendyke (SBT 08390450)
                                      Jason L. Boland (SBT 24040542)
                                      Robert B. Bruner (SBT 24062637)
                                      Julie Goodrich Harrison (SBT 24092434)
                                      1301 McKinney Street, Suite 5100
                                      Houston, Texas 77010-3095
                                      Tel.: (713) 651-5151
                                      Fax: (713) 651-5246
                                      william.greendyke@nortonrosefulbright.com
                                      jason.boland@nortonrosefulbright.com
                                      bob.bruner@nortonrosefulbright.com
                                      julie.harrison@nortonrosefulbright.com

                                     -and-

                                     DAVIS POLK & WARDWELL LLP

                                     Brian M. Resnick (admitted pro hac vice)
                                     Elliot Moskowitz (admitted pro hac vice)
                                     Steven Szanzer (admitted pro hac vice)
                                     Nate Sokol (admitted pro hac vice)
                                     450 Lexington Avenue
                                     New York, New York 10017
                                     Tel.: (212) 450-4000
                                     Fax: (212) 701-5800
                                     brian.resnick@davispolk.com
                                     elliot.moskowitz@davispolk.com
                                     steven.szanzer@davispolk.com
                                     nathaniel.sokol@davispolk.com

                                     Counsel to the Debtors and Debtors in Possession




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